                            Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 1 of 22

  Fill in this information to identify your case and this filing:
  Debtor 1               Seth                        Marcus               Bordelon
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number            20-33283
  (if known)                                                                                                                      Check if this is an
                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                                       What is the property?                            Do not deduct secured claims or exemptions. Put the
20311 Evergreen Springs Ln                                 Check all that apply.                            amount of any secured claims on Schedule D:
                                                                                                            Creditors Who Have Claims Secured by Property.
Street address, if available, or other description
                                                              Single-family home
                                                              Duplex or multi-unit building                Current value of the             Current value of the
                                                                                                            entire property?                 portion you own?
                                                              Condominium or cooperative
Spring                           TX       77379               Manufactured or mobile home                              $342,000.00                  $342,000.00
City                             State    ZIP Code
                                                              Land
                                                              Investment property                          Describe the nature of your ownership
                                                                                                            interest (such as fee simple, tenancy by the
Harris                                                        Timeshare
                                                                                                            entireties, or a life estate), if known.
County                                                        Other

                                                           Who has an interest in the property?
                                                                                                            Homestead
20311 Evergreen Springs Ln, Spring,                        Check one.
TX 77379
                                                              Debtor 1 only                                    Check if this is community property
                                                                                                                 (see instructions)
                                                              Debtor 2 only
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                       
       entries for pages you have attached for Part 1. Write that number here.............................................................           $342,000.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         Seth Marcus Bordelon                                                               Case number (if known)         20-33283


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes

3.1.                                                  Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                        Check one.                                          amount of any secured claims on Schedule D:
                                                                                                          Creditors Who Have Claims Secured by Property.
Model:                    F250                            Debtor 1 only

Year:                     2010                            Debtor 2 only                           Current value of the                    Current value of the
                                                                                                   entire property?                        portion you own?
Approximate mileage: 109,000
                                                          Debtor 1 and Debtor 2 only
                                                          At least one of the debtors and another            $14,543.75                            $14,543.75
Other information:
2010 Ford F250 (approx. 109,000                           Check if this is community property
miles)                                                     (see instructions)

3.2.                                                  Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Infiniti                    Check one.                                          amount of any secured claims on Schedule D:
                                                                                                          Creditors Who Have Claims Secured by Property.
Model:                    Q80                             Debtor 1 only

Year:                     2014                            Debtor 2 only                           Current value of the                    Current value of the
                                                                                                   entire property?                        portion you own?
Approximate mileage: 70,000
                                                          Debtor 1 and Debtor 2 only
                                                          At least one of the debtors and another            $19,806.25                            $19,806.25
Other information:
2014 Infiniti Q80 (approx. 70,000                         Check if this is community property
miles)                                                     (see instructions)

3.3.                                                  Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                        Check one.                                          amount of any secured claims on Schedule D:
                                                                                                          Creditors Who Have Claims Secured by Property.
Model:                    F150                            Debtor 1 only

Year:                     2013                            Debtor 2 only                           Current value of the                    Current value of the
                                                                                                   entire property?                        portion you own?
Approximate mileage: 95,000
                                                          Debtor 1 and Debtor 2 only
                                                          At least one of the debtors and another            $17,956.25                            $17,956.25
Other information:
2013 Ford F150 (approx. 95,000 miles)                     Check if this is community property
                                                           (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                                     
     entries for pages you have attached for Part 2. Write that number here.............................................................            $52,306.25


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
                       Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 3 of 22

Debtor 1      Seth Marcus Bordelon                                                     Case number (if known)        20-33283

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe............
                               Refrigerator $200                                                                                $3,565.00
                             small refrigerator $75
                             washer and dryer $300
                             Sectional Couch $500
                             3 leather chairs $500
                             Student desk $50
                             wine cooler $100
                             side table $25
                             Coffee Table $35.00
                             Sofa Table $35.00
                             Rug $20.00
                             Dining Room Table and 8 Chairs $750.00
                             Buffet $150.00
                             5 King Size Beds $100.00
                             6 Bedside Tables $75.00
                             4 Chest of Drawers $250.00
                             2 Drawer Lateral File $25.00
                             Sheets and Linens for Beds $15.00
                             Kitchenware $10.00
                             China $200.00
                             Various Lamps $50.00
                             Pictures and Home Decor $100

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe............
                               Televisions:                                                                                     $3,060.00
                             Sony 60" TV $200.00
                             Samsung 55" TV $100.00
                             Samsung 50" TV $50.00
                             Mitsubishi 50" TV $75.00
                             Samsung 40" TV $100.00
                             Samsung 40" TV $100.00
                             Sony Google 40" TV $40.00
                             Samsung 40" TV $100.00
                             Computers:
                             Apple iMac mid2011 27" Computer $200.00
                             2 Apple Air Laptop Computers $100.00
                             HP Envy Desktop Computer $75.00
                             1 Macbook $50.00
                             HP Officejet Printer $125.00
                             DVD Player $25.00
                             2 Sony Camcorders$200.00
                             Xbox One $100.00
                             2 Apple TV - 1st Gen $20.00
                             iPhone/iPad:
                             iPhone X $500.00
                             iPhone 7 $200.00
                             iPad Pro $300.00
                             iPad $200.00
                             iPad $200.00




Official Form 106A/B                                        Schedule A/B: Property                                                  page 3
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Debtor 1         Seth Marcus Bordelon                                                                                Case number (if known)             20-33283

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

           No
           Yes. Describe............
                                Marshall Fields Antique Wooden Desk                                                                                                      $1,000.00

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments

           No
           Yes. Describe............
                                3 Bicycles $75.00                                                                                                                         $245.00
                                     Golf Clubs $50.00
                                     Various Tools $100.00
                                     2 Pool Floats $20.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

           No
           Yes. Describe............
                                9mm Smith and Wessen $150.00                                                                                                              $250.00
                                     12 Guage Remmington Shotgun $100.00

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

           No
           Yes. Describe............
                                Men's Clothing and Accessories $300.00                                                                                                    $950.00
                                     Women's Clothing and Accessories $500.00
                                     Young Man's Clothing and Accessories $150.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

           No
           Yes. Describe............
                                Woman's Wedding Ring - Gold $250.00                                                                                                      $1,175.00
                                     Man's Wedding Ring - Silver $75.00
                                     Man's TAG Heuer Watch $250.00
                                     Woman's TAG Heuer Watch $200.00
                                     Woman's Mesh Ring - Silver $50.00
                                     Woman's Chain Bracelet - Silver $50.00
                                     Woman's Ear Rings - Various $100.00
                                     Man's Buliva Watch $100.00
                                     Woman's Necklaces - Various $100.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

           No
           Yes. Describe............
                                Shih Tzu mix $50.00                                                                                                                        $70.00
                                     Cat mix $20.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list

           No
           Yes. Give specific
            information......................
                                      2 European Deer Heads $20.00                                                                                                        $420.00
                                       30 Bottles of Wine - various $400.00

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                       
    attached for Part 3. Write the number here.......................................................................................................................   $10,735.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                       page 4
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Debtor 1         Seth Marcus Bordelon                                                                                              Case number (if known)                   20-33283


 Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

          No
          Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................               $0.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

          No
          Yes..............................                  Institution name:

            17.1.       Checking account:                     Wells Fargo Checking account
                                                              ending 6984                                                                                                                                  $410.02
            17.2.       Savings account:                      Wells Fargo Savings account
                                                              ending 5433                                                                                                                              $1,527.49
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          No
          Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

          No
          Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                          % of ownership:

                                               Blue Dog Partners, LLC

                                               Balance Sheet ($0.20) cash in deposit                                                                           100%                                            $0.20
                                               Secure Data Solutions, Inc.
                                               Empty Corporate shell $0.00
                                               iPhone                                                                                                          100%                                            $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.               Type of account:                   Institution name:

                                             401(k) or similar plan: Insperity 401(k) Plan                                                                                                         $507,964.44
                                             401(k) or similar plan: Trend Micro, Incorparated 401(k) Retirement Plan
                                                                                Held at Merrill Lynch                                                                                                  $8,747.76



Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                  page 5
                              Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 6 of 22

Debtor 1         Seth Marcus Bordelon                                                            Case number (if known)       20-33283

                                           IRA:                  Vanguard Simple IRA                                                              $280,315.03
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes..............................                  Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
                                               American Funds 529 College Savings Plan
                                               account ending 6098
                                               Funds deposited more than 2 years from filing                                                       $17,510.00
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information Federal: 2019 Income Tax Refund. Amt: $10,281.00                                   Federal:              $10,281.00
           about them, including whether
           you already filed the returns                                                                                     State:                     $0.00
           and the tax years.....................................
                                                                                                                             Local:                     $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
          Yes. Give specific information                                                                       Alimony:

                                                                                                                Maintenance:

                                                                                                                Support:

                                                                                                                Divorce settlement:

                                                                                                                Property settlement:




Official Form 106A/B                                                   Schedule A/B: Property                                                           page 6
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Debtor 1         Seth Marcus Bordelon                                                                                Case number (if known)             20-33283

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

           No
           Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:

                                                  North Western Mutual Life insurance                           Melissa Bordelon                                          $201,864.83
                                                  North Western Mutual                                          Seth Marcus Bordelon                                       $90,294.76
                                                  Trend Micro Medical FSA
                                                  Held at Discovery Benefits, LLC                                                                                             $383.64
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

           No
           Yes. Describe each claim..............


35. Any financial assets you did not already list

           No
           Yes. Give specific information See continuation page(s).                                                                                                            $0.00

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                       
    attached for Part 4. Write that number here.......................................................................................................................   $1,119,299.17


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

           No. Go to Part 6.
           Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

           No
           Yes. Describe................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
                               Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 8 of 22

Debtor 1          Seth Marcus Bordelon                                                                               Case number (if known)             20-33283

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

           No
           Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           No
           Yes. Describe................


41. Inventory

           No
           Yes. Describe................


42. Interests in partnerships or joint ventures

           No
           Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

           No
           Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                  No
                  Yes. Describe..............
44. Any business-related property you did not already list

           No
           Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
                                                                                                                                                       
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

           No. Go to Part 7.
           Yes. Go to line 47.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

           No
           Yes............................


48. Crops--either growing or harvested

           No
           Yes. Give specific
            information..........................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
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Debtor 1           Seth Marcus Bordelon                                                                                       Case number (if known)                20-33283

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
                                                                                                                                                       
    attached for Part 6. Write that number here.......................................................................................................................                       $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


                                                                                                                                 
54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                         $0.00


  Part 8: List the Totals of Each Part of this Form

                                                                                                                                                                    
55. Part 1: Total real estate, line 2..............................................................................................................................................    $342,000.00

56. Part 2: Total vehicles, line 5                                                                                  $52,306.25

57. Part 3: Total personal and household items, line 15                                                             $10,735.00

58. Part 4: Total financial assets, line 36                                                                    $1,119,299.17

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                     Add lines 56 through 61................................. $1,182,340.42                     property total                +          $1,182,340.42


63. Total of all property on Schedule A/B.                                                                                                                                               $1,524,340.42
                                                                     Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
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Debtor 1     Seth Marcus Bordelon                                                   Case number (if known)   20-33283


35. Any financial assets you did not already list (details):

    Paypal account                                                                                                      $0.00

    Amazon Prime Membership                                                                                             $0.00




Official Form 106A/B                                       Schedule A/B: Property                                       page 10
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 Fill in this information to identify your case:
 Debtor 1            Seth                 Marcus                 Bordelon
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                                                    Check if this is an
 Case number         20-33283                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $342,000.00                                    Const. art. 16 §§ 50, 51, Texas
20311 Evergreen Springs Ln, Spring, TX                                           100% of fair market     Prop. Code §§ 41.001-.002
77379                                                                             value, up to any
Line from Schedule A/B: 1.1                                                       applicable statutory
                                                                                  limit

Brief description:                                         $14,543.75                                    Tex. Prop. Code §§ 42.001(a),
2010 Ford F250 (approx. 109,000 miles)                                           100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:      3.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                         $19,806.25                                    Tex. Prop. Code §§ 42.001(a),
2014 Infiniti Q80 (approx. 70,000 miles)                                         100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:      3.2
                                                                                  applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                     Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 12 of 22

Debtor 1      Seth Marcus Bordelon                                                   Case number (if known)   20-33283

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $17,956.25                                  Tex. Prop. Code §§ 42.001(a),
2013 Ford F150 (approx. 95,000 miles)                                       100% of fair market    42.002(a)(9)
                                                                             value, up to any
Line from Schedule A/B:    3.3
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,565.00                                  Tex. Prop. Code §§ 42.001(a),
Refrigerator $200                                                           100% of fair market    42.002(a)(1)
small refrigerator $75                                                       value, up to any
washer and dryer $300                                                        applicable statutory
Sectional Couch $500                                                         limit
3 leather chairs $500
Student desk $50
wine cooler $100
side table $25
Coffee Table $35.00
Sofa Table $35.00
Rug $20.00
Dining Room Table and 8 Chairs $750.00
Buffet $150.00
5 King Size Beds $100.00
6 Bedside Tables $75.00
4 Chest of Drawers $250.00
2 Drawer Lateral File $25.00
Sheets and Linens for Beds $15.00
Kitchenware $10.00
China $200.00
Various Lamps $50.00
Pictures and Home Decor $100
Line from Schedule A/B: 6




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
                     Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 13 of 22

Debtor 1      Seth Marcus Bordelon                                                   Case number (if known)   20-33283

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,060.00                                  Tex. Prop. Code §§ 42.001(a),
Televisions:                                                                100% of fair market    42.002(a)(1)
Sony 60" TV $200.00                                                          value, up to any
Samsung 55" TV $100.00                                                       applicable statutory
Samsung 50" TV $50.00                                                        limit
Mitsubishi 50" TV $75.00
Samsung 40" TV $100.00
Samsung 40" TV $100.00
Sony Google 40" TV $40.00
Samsung 40" TV $100.00
Computers:
Apple iMac mid2011 27" Computer
$200.00
2 Apple Air Laptop Computers $100.00
HP Envy Desktop Computer $75.00
1 Macbook $50.00
HP Officejet Printer $125.00
DVD Player $25.00
2 Sony Camcorders$200.00
Xbox One $100.00
2 Apple TV - 1st Gen $20.00
iPhone/iPad:
iPhone X $500.00
iPhone 7 $200.00
iPad Pro $300.00
iPad $200.00
iPad $200.00
Line from Schedule A/B:  7

Brief description:                                      $1,000.00                                  Tex. Prop. Code §§ 42.001(a),
Marshall Fields Antique Wooden Desk                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $245.00                                   Tex. Prop. Code §§ 42.001(a),
3 Bicycles $75.00                                                           100% of fair market    42.002(a)(1)
Golf Clubs $50.00                                                            value, up to any
Various Tools $100.00                                                        applicable statutory
2 Pool Floats $20.00                                                         limit
Line from Schedule A/B:     9

Brief description:                                       $250.00                                   Tex. Prop. Code §§ 42.001(a),
9mm Smith and Wessen $150.00                                                100% of fair market    42.002(a)(7)
12 Guage Remmington Shotgun $100.00                                          value, up to any
Line from Schedule A/B: 10                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
                     Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 14 of 22

Debtor 1      Seth Marcus Bordelon                                                   Case number (if known)   20-33283

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $950.00                                   Tex. Prop. Code §§ 42.001(a),
Men's Clothing and Accessories $300.00                                      100% of fair market    42.002(a)(5)
Women's Clothing and Accessories                                             value, up to any
$500.00                                                                      applicable statutory
Young Man's Clothing and Accessories                                         limit
$150.00
Line from Schedule A/B: 11

Brief description:                                      $1,175.00                                  Tex. Prop. Code §§ 42.001(a),
Woman's Wedding Ring - Gold $250.00                                         100% of fair market    42.002(a)(6)
Man's Wedding Ring - Silver $75.00                                           value, up to any
Man's TAG Heuer Watch $250.00                                                applicable statutory
Woman's TAG Heuer Watch $200.00                                              limit
Woman's Mesh Ring - Silver $50.00
Woman's Chain Bracelet - Silver $50.00
Woman's Ear Rings - Various $100.00
Man's Buliva Watch $100.00
Woman's Necklaces - Various $100.00
Line from Schedule A/B: 12

Brief description:                                       $70.00                                    Tex. Prop. Code §§ 42.001(a),
Shih Tzu mix $50.00                                                         100% of fair market    42.002(a)(11)
Cat mix $20.00                                                               value, up to any
Line from Schedule A/B:    13                                                applicable statutory
                                                                             limit

Brief description:                                       $420.00                                   Tex. Prop. Code §§ 42.001(a),
2 European Deer Heads $20.00                                                100% of fair market    42.002(a)(1)
30 Bottles of Wine - various $400.00                                         value, up to any
Line from Schedule A/B:  14                                                  applicable statutory
                                                                             limit

Brief description:                                     $507,964.44                                 11 U.S.C. § 522(n)
Insperity 401(k) Plan                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $280,315.03                                 11 U.S.C. § 522(n)
Vanguard Simple IRA                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $8,747.76                                  11 U.S.C. § 522(n)
Trend Micro, Incorparated 401(k)                                            100% of fair market
Retirement Plan                                                              value, up to any
Held at Merrill Lynch                                                        applicable statutory
Line from Schedule A/B: 21                                                   limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
                     Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 15 of 22

Debtor 1      Seth Marcus Bordelon                                                   Case number (if known)   20-33283

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $17,510.00                                  11 USC § 541(b)(6)
American Funds 529 College Savings Plan                                     100% of fair market
account ending 6098                                                          value, up to any
Funds deposited more than 2 years from                                       applicable statutory
filing                                                                       limit
Line from Schedule A/B: 24

Brief description:                                     $201,864.83                                 Tex. Ins. Code §§ 1108.001,
North Western Mutual Life insurance                                         100% of fair market    1108.051
                                                                             value, up to any
Line from Schedule A/B:    31
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $90,294.76                                  Tex. Ins. Code §§ 1108.001,
North Western Mutual                                                        100% of fair market    1108.051
                                                                             value, up to any
Line from Schedule A/B:    31
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $383.64                                   Tex. Ins. Code §§ 1108.001,
Trend Micro Medical FSA                                                     100% of fair market    1108.051
Held at Discovery Benefits, LLC                                              value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
                         Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 16 of 22
                                                 UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
  IN RE: Seth Marcus Bordelon                                                               CASE NO       20-33283

                                                                                            CHAPTER       7
                                                                         AMENDED
                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State
                                                                Gross               Total         Total         Total Amount   Total Amount
No.     Category                                        Property Value      Encumbrances         Equity               Exempt    Non-Exempt


1.      Real property                                    $342,000.00               $0.00    $342,000.00         $342,000.00            $0.00

3.      Motor vehicles (cars, etc.)                       $52,306.25               $0.00     $52,306.25          $52,306.25            $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00               $0.00          $0.00                $0.00           $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $3,565.00               $0.00      $3,565.00           $3,565.00            $0.00

7.      Electronics                                        $3,060.00               $0.00      $3,060.00           $3,060.00            $0.00

8.      Collectibles of value                              $1,000.00               $0.00      $1,000.00           $1,000.00            $0.00

9.      Equipment for sports and hobbies                     $245.00               $0.00       $245.00               $245.00           $0.00

10.     Firearms                                             $250.00               $0.00       $250.00               $250.00           $0.00

11.     Clothes                                              $950.00               $0.00       $950.00               $950.00           $0.00

12.     Jewelry                                            $1,175.00               $0.00      $1,175.00           $1,175.00            $0.00

13.     Non-farm animals                                      $70.00               $0.00        $70.00                $70.00           $0.00

14.     Unlisted pers. and household items-                  $420.00               $0.00       $420.00               $420.00           $0.00
        incl. health aids

16.     Cash                                                   $0.00               $0.00          $0.00                $0.00           $0.00

17.     Deposits of money                                  $1,937.51               $0.00      $1,937.51                $0.00     $1,937.51

18.     Bonds, mutual funds or publicly                        $0.00               $0.00          $0.00                $0.00           $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.20               $0.00          $0.20                $0.00           $0.20
        in businesses

20.     Govt. and corp. bonds and other                        $0.00               $0.00          $0.00                $0.00           $0.00
        instruments

21.     Retirement or pension accounts                   $797,027.23               $0.00    $797,027.23         $797,027.23            $0.00

22.     Security deposits and prepayments                      $0.00               $0.00          $0.00                $0.00           $0.00

23.     Annuities                                              $0.00               $0.00          $0.00                $0.00           $0.00

24.     Interests in an education IRA                     $17,510.00               $0.00     $17,510.00          $17,510.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00               $0.00          $0.00                $0.00           $0.00

26.     Patents, copyrights, and other                         $0.00               $0.00          $0.00                $0.00           $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00               $0.00          $0.00                $0.00           $0.00
        general intangibles

28.     Tax refunds owed to you                           $10,281.00               $0.00     $10,281.00                $0.00    $10,281.00
                         Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 17 of 22
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Seth Marcus Bordelon                                                              CASE NO        20-33283

                                                                                          CHAPTER         7
                                                                    AMENDED
                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State
                                                           Gross                  Total           Total         Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances           Equity               Exempt    Non-Exempt


29.     Family support                                     $0.00                  $0.00          $0.00                $0.00            $0.00

30.     Other amounts someone owes you                     $0.00                  $0.00          $0.00                $0.00            $0.00

31.     Interests in insurance policies              $292,543.23                  $0.00    $292,543.23          $292,543.23            $0.00

32.     Any int. in prop. due you from                     $0.00                  $0.00          $0.00                $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                  $0.00          $0.00                $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                  $0.00          $0.00                $0.00            $0.00
        of every nature

35.     Any financial assets you did                       $0.00                  $0.00          $0.00                $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                  $0.00          $0.00                $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                  $0.00          $0.00                $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                  $0.00          $0.00                $0.00            $0.00
        tools of trade

41.     Inventory                                          $0.00                  $0.00          $0.00                $0.00            $0.00

42.     Interests in partnerships or                       $0.00                  $0.00          $0.00                $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                  $0.00          $0.00                $0.00            $0.00
        other compilations

44.     Any business-related property not                  $0.00                  $0.00          $0.00                $0.00            $0.00
        already listed

47.     Farm animals                                       $0.00                  $0.00          $0.00                $0.00            $0.00

48.     Crops--either growing or harvested                 $0.00                  $0.00          $0.00                $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                  $0.00          $0.00                $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                  $0.00          $0.00                $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                  $0.00          $0.00                $0.00            $0.00
        not listed

53.     Any other property of any kind not                 $0.00                  $0.00          $0.00                $0.00            $0.00
        already listed


                    TOTALS:                        $1,524,340.42                  $0.00   $1,524,340.42        $1,512,121.71    $12,218.71
                        Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 18 of 22
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Seth Marcus Bordelon                                                                 CASE NO        20-33283

                                                                                             CHAPTER         7
                                                                   AMENDED
                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                        Lien             Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                      $0.00                $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien               Equity       Non-Exempt Amount

Real Property
(None)
Personal Property

Wells Fargo Checking account                                                 $410.02                              $410.02                   $410.02

Wells Fargo Savings account                                                $1,527.49                             $1,527.49                $1,527.49

Blue Dog Partners, LLC                                                          $0.20                               $0.20                     $0.20

2019 Income Tax Refund                                                    $10,281.00                         $10,281.00                  $10,281.00


                   TOTALS:                                                $12,218.71            $0.00         $12,218.71                 $12,218.71
                  Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 19 of 22
                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION
IN RE: Seth Marcus Bordelon                                                       CASE NO   20-33283

                                                                                  CHAPTER   7
                                                              AMENDED
                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                         Continuation Sheet # 3




                                                          Summary
       A. Gross Property Value (not including surrendered property)                             $1,524,340.42

       B. Gross Property Value of Surrendered Property                                                 $0.00

       C. Total Gross Property Value (A+B)                                                      $1,524,340.42

       D. Gross Amount of Encumbrances (not including surrendered property)                            $0.00

       E. Gross Amount of Encumbrances on Surrendered Property                                         $0.00

       F. Total Gross Encumbrances (D+E)                                                               $0.00

       G. Total Equity (not including surrendered property) / (A-D)                             $1,524,340.42

       H. Total Equity in surrendered items (B-E)                                                      $0.00

       I. Total Equity (C-F)                                                                    $1,524,340.42

       J. Total Exemptions Claimed                                                              $1,512,121.71

       K. Total Non-Exempt Property Remaining (G-J)                                              $12,218.71
                            Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 20 of 22

 Fill in this information to identify your case:
 Debtor 1                Seth                          Marcus                        Bordelon
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number             20-33283
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $342,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                   $1,182,340.42
     1b. Copy line 62, Total personal property, from Schedule A/B...........................................................................................................................................................


                                                                                                                                                                         $1,524,340.42
     1c. Copy line 63, Total of all property on Schedule A/B.....................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $212,504.97
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                         $212,504.97




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $7,420.42
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $9,099.71




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1
                       Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 21 of 22

Debtor 1      Seth Marcus Bordelon                                                         Case number (if known)     20-33283


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
Case 20-33283 Document 18 Filed in TXSB on 08/05/20 Page 22 of 22
